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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO
                                    Judge Daniel D. Domenico

   Civil Action No.: 19-cv-002639-PAB-NYW                Date: April 29, 2022
   Courtroom Deputy: Emily Buchanan                      Court Reporter: Janet Coppock

    Parties:                                              Counsel:

    JOHN PAULSON, individually and on behalf of all       Paul Scarlato
    others similarly situated,                            Steve Miller

         Plaintiff,

    v.

    JOHN R. MCKOWEN, an individual,                       Martin Berliner (VTC)
    WAYNE HARDING, an individual, and                     David Mayhan (VTC)
    TIMOTHY BEALL, an individual,                         Lillian Alves

         Defendants.


                                      COURTROOM MINUTES


   CLASS ACTION FAIRNESS HEARING

   10:10 a.m.         Court in session.

   Judge Daniel D. Domenico sits in for this hearing for Chief Judge Philip A. Brimmer.
   Chief Judge Brimmer will review the record made today along with the rest of the record
   in this case and issue a written order.

   Appearances of counsel. Also present for the objector Blue & Green, LLC is attorney
   Frank Visciano.

   Argument by Mr. Scarlato as to the terms of the settlement.

   Mr. Visciano states the objection on behalf of Blue & Green, LLC.

   Response by Mr. Scarlato.

   Response by Ms. Alves.

   Response by Mr. Berliner.
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   Response by Mr. Mayhan.

   Mr. Scarlato addresses Plaintiff’s Motion for an Award of Attorneys’ Fees, Incentive
   Award, and Reimbursement of Litigation Expenses.

   ORDERED: Plaintiff’s Motion for Final Approval of Settlement [169] is TAKEN UNDER
            ADVISEMENT.

   ORDERED: Plaintiff’s Motion for an Award of Attorneys’ Fees, Incentive Award, and
            Reimbursement of Litigation Expenses [170] is TAKEN UNDER
            ADVISEMENT.

   10:44 a.m.   Court in recess.

   Hearing concluded.
   Total time in court: 00:34




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